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   5

   6 Attorneys for Defendant
       POWERLINE FUNDING LLC
   7

   8                         UNITED STATES DISTRICT COURT

   9         CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
  10

  11 MARIANO BENITEZ, individually

  12 and on behalf of others similarly              Case No. 8:19-cv-00098
       situated,
  13                                                NOTICE OF UNAVAILABILITY
  14                Plaintiff,                      OF COUNSEL

  15         vs.
  16
       POWERLINE FUNDING LLC, a New
  17 York limited liability company,

  18
                    Defendant.
  19

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  21
       TO THE COURT AND TO ALL PARTIES AND THEIR ATTORNEYS OF
  22

  23 RECORD. Please take notice that commencing October 28, 2019 to November 7

  24
       2019, Ingrid M. Rainey, attorney for Defendant Powerline Funding, LLC will be
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  26
       unavailable for any purpose, including but not limited to receiving notices of any

  27 kind requiring time sensitive responses, responding to ex parte applications, court

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                                 NOTICE OF UNAVAILABILITY OF COUNSEL
Case 8:19-cv-00098-JLS-DFM Document 61 Filed 10/21/19 Page 2 of 3 Page ID #:286



   1 appearances, depositions, hearings, or trial.
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   3                                                 Respectfully submitted,
   4                                                 RAINEY LAW P.C.
   5
       Dated: October 21, 2019                  By: /s/ Ingrid M. Rainey
   6
                                                  Attorney for Defendant
   7                                              Ingrid M. Rainey (272649)
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                              NOTICE OF UNAVAILABILITY OF COUNSEL
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   2                            CERTIFICATE OF SERVICE

   3          Ingrid M. Rainey, an attorney, certifies that on October 21, 2019, she
   4    electronically filed the foregoing with the Clerk of the Court by using the CM/
   5
        ECF system, which will send a notice of electronic filing to all attorneys of
   6
        record.
   7

   8                                                  /s/ Ingrid M. Rainey
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                              NOTICE OF UNAVAILABILITY OF COUNSEL
